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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO
                                      Judge R. Brooke Jackson


   Civil Action No 19-cv-00874-RBJ-MEH

   WARNER BROS. RECORDS INC., et al.,

           Plaintiffs,
   v.

   CHARTER COMMUNICATIONS, INC.,

         Defendant.
   ______________________________________________________________________________

                           ORDER SETTING ANSWER DATE
   ______________________________________________________________________________

           The Court has reviewed ECF 140, entered today, which addresses an issue the parties raised

   with the Magistrate Judge during a conference. Specifically, currently before me is ECF 71, the

   Magistrate Judge’s recommendation on Defendant’s Motion to Dismiss (ECF 38). The Federal

   Rules of Civil Procedure permit the Defendant to file its Answer within 14 days after notice of this

   Court’s action on the Recommendation, “[u]nless the court sets a different time.” Fed. R. Civ. P.

   12(a)(4). It appears from the Magistrate Judge’s minutes that the Plaintiffs suggested the filing of

   a partial answer. In the interests of timeliness and efficiency in assisting the parties toward a timely

   resolution of this case, it is hereby

           ORDERED that Defendant file its Partial Answer to the claims that are not the subject of

   the pending Motion to Dismiss on or before March 18, 2020.

           DATED this 4th day of March, 2020.

                                                   BY THE COURT:
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                                     ___________________________________
                                     R. Brooke Jackson
                                     United States District Judge
